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                                          U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     January 15, 2020

BY ECF
The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Michael Avenatti,
               S1 19 Cr. 373 (PGG)

Dear Judge Gardephe:

       The Government respectfully submits this letter pursuant to the Court’s order dated today,
January 15, 2020, regarding the defendant’s recent arrest in another district.

         Late yesterday afternoon, the United States Attorney’s Office for the Southern District of
New York (the “USAO-SDNY”) was informed by the United States Attorney’s Office for the
Central District of California (the “USAO-CDCA”) that the USAO-CDCA had submitted, on an
ex parte basis, a sealed request for the United States District Court for the Central District of
California to issue an arrest warrant or an order to show cause with respect to potential violations
of the conditions of pretrial release by the defendant in connection with his case pending in that
district. The USAO-CDCA motion papers, which the Government received after they had been
filed, are attached. According to these papers, which the Government is still reviewing, the
violations appear to stem from a series of alleged financial transactions and related conduct that
occurred principally after the defendant’s arrest in this case.

         The Government had no knowledge, prior to late yesterday afternoon, that the USAO-
CDCA believed the defendant to be in substantive violation of the conditions of his pretrial release
in that district or was considering seeking a revocation of his release. The Government understands
that a bail proceeding has been scheduled for 11:00 a.m. PST / 2:00 p.m. EST today in the Central
District of California. The USAO-SDNY has not been asked to and does not anticipate having
any role whatsoever in that bail proceeding. The Government understands from the motion filed
yesterday by the USAO-CDCA that it intends to seek the defendant’s remand and detention
pending trial in the Central District of California.

        In the event such a request is granted, the USAO-SDNY is taking steps to ensure that the
defendant would be present in this district as soon as possible in order to minimize disruption to
pretrial and trial schedule in this case. We have also been in discussions, beginning yesterday
evening, with defense counsel in this case about the potential implications that the defendant’s
arrest may have on that schedule. If the defendant is detained, the USAO-SDNY will likely ask
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United States District Judge
January 15, 2020
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this Court to issue an order either directing the United States Marshals Service to transport the
defendant to this district on an expedited basis, or for an order directing the USMS to release the
defendant to the custody of the Special Agents of the United States Attorney’s Office for the
Southern District of New York and/or the Federal Bureau of Investigation so that they can transport
the defendant to the Southern District of New York so that he can be housed in this district and
available for trial.

                                                     Respectfully submitted,

                                                     GEOFFREY S. BERMAN
                                                     United States Attorney


                                             By:
                                                     Matthew D. Podolsky
                                                     Daniel C. Richenthal
                                                     Robert B. Sobelman
                                                     Assistant United States Attorneys
                                                     (212) 637-1947/2109/2616

Attachments

cc:    (by ECF)

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                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
                                  SOUTHERN DIVISION
17
     UNITED STATES OF AMERICA,              SA CR No. 19-061-JVS
18
              Plaintiff,                    DOCUMENT
19
                    v.                      [IN CAMERA]
20
     MICHAEL JOHN AVENATTI,                 [UNDER SEAL]
21
              Defendant.
22

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                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
                                  SOUTHERN DIVISION
17
     UNITED STATES OF AMERICA,              SA CR No. 19-061-JVS
18
              Plaintiff,                    GOVERNMENT’S MOTION FOR AN ARREST
19                                          WARRANT, ORDER REVOKING PRETRIAL
                    v.                      RELEASE, AND ORDER OF DETENTION
20
     MICHAEL JOHN AVENATTI,                 [Declaration of Remoun Karlous
21                                          Filed Concurrently Herewith]
              Defendant.
22                                          [IN CAMERA]
23                                          [UNDER SEAL]
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 1                   GOVERNMENT’S MOTION FOR AN ARREST WARRANT,
 2             ORDER REVOKING PRETRIAL RELEASE, AND ORDER OF DETENTION
 3        Plaintiff United States of America, by and through its counsel

 4   of record, the United States Attorney for the Central District of

 5   California and Assistant United States Attorneys Julian L. André and

 6   Brett A. Sagel, hereby moves under seal and in camera for: (1) a

 7   warrant for the arrest of defendant MICHAEL JOHN AVENATTI

 8   (“defendant”); (2) an order revoking defendant’s order of pretrial

 9   release; and (3) an order detaining defendant pending further

10   proceedings in the instant prosecution, United States v. Avenatti, SA

11   CR No. 19-061-JVS.

12        This motion is made pursuant to Title 18, United States Code,

13   Section 3148, and is based on the following grounds:

14        1.     There is probable cause to believe that defendant has

15   committed federal offenses while on pretrial release, namely,

16   (a) mail fraud, in violation of Title 18, United States Code, Section

17   1341; (b) wire fraud, in violation of Title 18, United States Code,

18   Section 1343, and (c) structuring of currency transactions to evade

19   reporting requirements, in violation of 31 U.S.C. § 5324(a)(3).

20        2.     There is probable cause to believe that defendant committed

21   multiple state offenses while on pretrial release, namely, (a)

22   defendant or judgment debtor fraudulently removing, concealing, or

23   disposing of personal property sought to be recovered, in violation

24   of California Penal Code § 155(a); (b) money laundering, in violation

25   of California Penal Code § 186.10; and (c) fraudulent removal of

26   property, in violation of Revised Code of Washington § 9.45.080.

27        3.     In doing so, defendant has violated the terms of his

28   pretrial release order by violating federal and state law.

                                           2
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 1        4.   There is no condition or combination of conditions that

 2   will ensure the safety of the community.

 3        5.   It is unlikely that defendant will abide by any condition

 4   or combination of conditions of release.

 5        Alternatively, the government requests that the Court issue an

 6   order to show cause as to why defendant’s bond should not be revoked,

 7   and schedule a bond revocation hearing as soon as possible.

 8        This motion is based on the attached memorandum of points and

 9   authorities, the declaration of Internal Revenue Service – Criminal

10   Investigation Special Agent Remoun Karlous and exhibits thereto, the

11   record and file in this case, and such other evidence and argument as

12   the Court may receive.

13   Dated: January 14, 2020             Respectfully submitted,

14                                       NICOLA T. HANNA
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15
                                         BRANDON D. FOX
16                                       Assistant United States Attorney
                                         Chief, Criminal Division
17

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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.   INTRODUCTION
 3        Defendant MICHAEL JOHN AVENATTI (“defendant”) is charged in a

 4   36-count indictment in this district with wire fraud; willful failure

 5   to pay over withheld payroll taxes; endeavoring to obstruct the

 6   administration of the Internal Revenue Code; willful failure to file

 7   tax returns; bank fraud; aggravated identity theft; and making false

 8   declarations and providing false testimony in bankruptcy.           (CR 16.)

 9   Defendant is separately charged in the Southern District of New York

10   with extortion-related offenses in United States v. Avenatti, No.

11   1:19-CR-373-PGG (the “SDNY Extortion Case”) and fraud-related

12   offenses in United States v. Avenatti, No. 1:19-CR-374-DAB (the “SDNY

13   Fraud Case” and, collectively with the SDNY Extortion Case, the “SDNY

14   Cases”)

15        On March 25, 2019, defendant was arrested pursuant to a criminal

16   complaint (CR 1) and released on an unsecured $300,000 appearance

17   bond pending trial.     (CR 38; CR 13.)    Defendant’s first ex-wife,

18   Christine Avenatti Carlin (“Carlin”), and Carlin’s current husband,

19   Brian Carlin, are the third-party sureties for defendant’s bond in

20   this district.    (CR 14.)

21        The conditions of defendant’s pretrial release state that

22   defendant “must not violate federal, state, or local law while on

23   release.”   (CR 13 at 14.)     Defendant has violated this condition by

24   engaging in a scheme to defraud his creditors, in violation of 18

25   U.S.C. § 1341 (mail fraud), and 18 U.S.C. § 1343 (wire fraud), by

26   structuring currency transactions to evade reporting requirements, in

27   violation of 31 U.S.C. § 5324(a)(3) (structuring), and by concealing

28   his personal assets from his creditors, in violation of California
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 1   Penal Code § 155 (defendant or judgment debtor fraudulently removing,

 2   concealing, or disposing of personal property sought to be

 3   recovered), California Penal Code § 186.10 (money laundering), and

 4   Revised Code of Washington § 9.45.080 (fraudulent removal of

 5   property).1

 6        Among other debts, as of May 2019, defendant personally owed:

 7   (1) a former law partner, Jason Frank Law PLC (“JFL”), approximately

 8   $5 million pursuant to a judgment issued in the Los Angeles Superior

 9   Court; (2) a former client, William Parrish (“Parrish”),

10   approximately $2.2 million pursuant to a judgment issued in Santa

11   Barbara Superior Court; (3) his second wife Lisa Storie Avenatti

12   (“Storie”) approximately $2.5 million pursuant to spousal and child

13   support orders issued in Orange County Superior Court; and (4) the

14   Washington Department of Revenue approximately $1.5 million pursuant

15   to a tax warrant.2   Since at least May 2019, defendant has brazenly

16   attempted to defraud and conceal his assets from these creditors.

17        In early-May 2019, while on pre-trial release, defendant

18   received a $1,000,000 payment in connection with a settlement his law

19   firm, Avenatti & Associates, APC (“A&A”), obtained for a client, E.S.

20   To prevent his creditors from discovering this $1,000,000 payment, on

21   May 7, 2019, defendant deposited the payment into a new bank account

22   he had opened with J.P. Morgan Chase (“Chase”) that same day.            Then,

23   on May 8, 2019, defendant fraudulently transferred to Carlin

24

25        1 The government discovered that defendant was likely engaged in
     the ongoing criminal conduct described herein last month. The
26   government has worked diligently to obtain and present the relevant
     evidence to the Court for its consideration as soon as possible.
27
          2 The government uses these individuals’ names, rather than

28   initials, as each of them have public judgments against defendant.

                                            2
         Case 1:19-cr-00373-PGG Document 152-1 Filed 01/15/20 Page 11 of 59



 1   approximately $717,000 of the $1,000,000 payment in a further effort

 2   to defraud and conceal his assets from his creditors, including a

 3   number of the victims of the alleged criminal conduct in this case.3

 4   Five days later, on May 13, 2019, Carlin returned $500,000 of the

 5   $717,000 to defendant, which he later deposited into a different bank

 6   account that he had opened at U.S. Bank on May 22, 2019.

 7        Defendant also engaged in a number of other fraudulent

 8   transactions designed to defraud his creditors and conceal his

 9   assets.   For example, in May 2019, defendant arranged for his ex-wife

10   to use a portion of the $717,000 payment to purchase a $50,000

11   Mercedes Benz in her name that defendant and defendant’s personal

12   driver, J.C., repeatedly used to transport defendant.          As noted

13   below, defendant completed the paperwork to purchase the Mercedes

14   Benz in his own name on or about May 6, 2019, but returned with

15   Carlin on May 9, 2019, for Carlin to purchase the car in her name.

16        Additionally, between June 2019 and September 2019, defendant

17   “flipped” cashier’s checks to himself in order to limit the amount of

18   funds available in his U.S. Bank account on at least eight separate

19   occasions.   Specifically, defendant would purchase cashier’s checks

20   payable to himself so as to drain his bank accounts of any remaining

21   funds, would hold onto the cashier’s checks, would briefly

22   “redeposit” the cashier’s checks to immediately access the funds, and

23   would then purchase additional cashier’s checks payable to himself to

24   again drain any remaining funds in the account.         By doing so,

25

26        3 As noted herein, on May 14, 2019, approximately one week after
     he obtained a $1,000,000 payment and fraudulently transferred
27   $717,000 of those funds to Carlin, defendant sought to have the
     Federal Public Defender’s Office appointed to represent him in this
28   case, but requested that he not be required to submit the required
     financial affidavit. (CR 28.)
                                        3
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 1   defendant was clearly attempting to limit his creditors’ ability to

 2   levy his accounts and recover the debts defendant owed to his

 3   creditors.

 4        Finally, on several occasions, more fully described below,

 5   defendant structured his financial transactions at U.S. Bank to evade

 6   currency reporting requirements.      Specifically, defendant would

 7   withdraw cash in an amount just below the $10,000 reporting

 8   requirement and simultaneously purchase a cashier’s check for a

 9   similar amount – resulting in a total withdrawal amount that, if

10   withdrawn entirely in cash, would have been greater than $10,000.

11   Defendant would then cash the cashier’s checks soon thereafter.          By

12   doing so, he prevented U.S. Bank from filing currency transaction

13   reports, which would likely have alerted the government to

14   defendant’s bank account information and suspicious banking

15   activities.4

16        The fact that defendant continued to engage in criminal conduct

17   after he had been indicted in this case and while on bond

18   demonstrates that defendant remains a substantial economic danger to

19   the community.   In April 2019, defendant was indicted for, among

20   other things, making false statements and declarations during

21   bankruptcy proceedings in order to conceal his assets, and for

22   obstructing the IRS efforts to collect unpaid payroll taxes by

23   evading liens and levies.     Yet, between at least April 2019 and

24

25        4 The conditions of defendant’s pretrial release further state
     that defendant must not spend or transfer $5,000 or more in a single
26   transaction to or from any account defendant controls without first
     notifying pretrial services. Although defendant may have violated
27   this condition, possibly numerous times, the government believes
     defendant’s actions violated federal and state law. The government,
28   therefore, does not yet know whether defendant notified Pre-Trial
     Services of the financial transactions discussed in this motion.
                                        4
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 1   October 2019, defendant continued to engage in similar conduct in a

 2   continued effort to defraud his creditors, including some of the very

 3   same creditors who are victims of the bankruptcy fraud allegations in

 4   the indictment.

 5         Defendant has also repeatedly demonstrated that he is unlikely

 6   to comply with any conditions imposed by this Court and has a long

 7   history of violating court orders.         Because there are no conditions

 8   or combinations of conditions that will ensure the safety of the

 9   community, defendant’s bond should be revoked and he should be

10   detained pending trial.

11         Accordingly, the government respectfully requests that the Court

12   issue a warrant for defendant’s arrest so that he can be brought

13   before the Court for an immediate bond revocation hearing, revoke

14   defendant’s order of pretrial release, and detain defendant pending

15   the trial in this case.5       Alternatively, the government requests that

16   the Court issue an order to show cause as to why defendant’s bond

17   should not be revoked, and schedule a hearing on the government’s

18   motion as soon as possible.

19   II.   PROCEDURAL HISTORY
20         A.    Defendant’s Arrest and Bond Conditions
21         On March 22, 2019, the Honorable Douglas F. McCormick, United

22   States Magistrate Judge for the Central District of California,

23   issued a warrant for defendant’s arrest based on a criminal complaint

24   charging defendant with one count of bank fraud, in violation of 18

25   U.S.C. § 1344(1), and count of wire fraud, in violation of 18 U.S.C.

26

27         5If this Court does not detain defendant pending trial, the
     government, alternatively, believes defendant’s conditions of release
28   must be significantly modified. Additionally, the government
     believes that Carlin is no longer an appropriate surety.
                                        5
         Case 1:19-cr-00373-PGG Document 152-1 Filed 01/15/20 Page 14 of 59



 1   § 1343.   (CR 1.)   The affidavit in support of the criminal complaint

 2   set forth extensive evidence of the charged offenses, but also

 3   incorporated by reference a prior search warrant affidavit (the

 4   “February 2019 affidavit”) detailing other alleged criminal conduct

 5   dating back to as early as 2011, including numerous tax offenses.

 6   (CR 1.)   Along with the criminal complaint, the government filed a

 7   notice for request of detention.      (CR 4.)

 8        On March 25, 2019, defendant was arrested in New York on the

 9   criminal complaint.    (CR 13; CR 15.)     Simultaneously, defendant was

10   arrested on a separate criminal complaint and arrest warrant issued

11   in the Southern District of New York, which alleged that defendant

12   attempted to extort NIKE, Inc. (“Nike”).        At defendant’s initial

13   appearance that same day, the Honorable Katharine H. Parker, United

14   States Magistrate Judge for the Southern District of New York,

15   released defendant on conditions, including the posting of a $300,000

16   unsecured appearance bond.     (CR 13.)    The conditions of defendant’s

17   release also included the following:

18        The defendant must not violate federal, state, or local law
          while on release.
19

20   (CR 13 at 14.)   The conditions of defendant’s release further

21   required that defendant must not spend or transfer $5,000 or more in

22   a single transaction to or from any account defendant controls

23   without first notifying pretrial services.        (CR 13 at 16.)     The bond

24   paperwork, which defendant signed, explicitly advised defendant of

25   the consequences of violating the conditions of his release, stating:

26        Violating any of the foregoing conditions of release may
          result in the immediate issuance of a warrant for your
27        arrest, a revocation of your release, an order of
          detention, a forfeiture of any bond, and prosecution of for
28

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 1        contempt of court and could result in imprisonment, a fine,
          or both.
 2

 3   (CR 13 at 17.)

 4        On April 1, 2019, defendant made his initial appearance in this

 5   district before the Honorable John D. Early, United States Magistrate

 6   Judge for the Central District of California, and Judge Early ordered

 7   that defendant remain on bond under the conditions previously set in

 8   the Southern District of New York.       (CR 10.)6   Defendant’s first ex-

 9   wife, Carlin, and Carlin’s husband are the third-party sureties for

10   defendant’s bond.    (CR 14.)

11        B.   The Indictment
12        On April 10, 2019, a federal grand jury returned a 36-count

13   indictment charging defendant with: (a) ten counts of wire fraud, in

14   violation of 18 U.S.C. § 1343; (b) eight counts of willful failure to

15   pay over withheld taxes, in violation of 26 U.S.C. § 7202; (c) one

16   count of endeavoring to obstruct the administration of the Internal

17   Revenue Code, in violation of 26 U.S.C. § 7212(a); (d) ten counts of

18   willful failure to file tax return, in violation of 26 U.S.C. § 7203;

19   (e) two counts of bank fraud, in violation of 18 U.S.C. § 1344(1);

20   (f) one count of aggravated identity theft, in violation of 18 U.S.C.

21   § 1028A(a)(1); (g) three counts of false declaration in bankruptcy,

22   in violation of 18 U.S.C. § 152(3); and (h) one count of false

23   testimony under oath in bankruptcy, in violate of 18 U.S.C. § 152(2).

24   (CR 16 (the “Indictment”).)     The bankruptcy fraud charges and the tax

25   charges relating to defendant’s efforts to evade the collection of

26

27
          6 Although Judge Early modified defendant’s conditions of
28   release related to travel (CR 42), all other conditions have remained
     the same.
                                        7
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 1   payroll taxes are particularly relevant to the instant motion as

 2   defendant’s ongoing criminal conduct is nearly identical to the

 3   allegations set forth in those charges.

 4                  1.    False Declarations and Statements in the EA LLP
                          Bankruptcy Proceeding
 5

 6           Counts Thirty-Three through Thirty-Six of the Indictment charge

 7   defendant with making false declarations and a false oaths in a

 8   bankruptcy proceeding relating to defendant’s former law firm, Eagan

 9   Avenatti LLP (“EA LLP”), In re: Eagan Avenatti LLP, No. 8:17-bk-

10   11961-CB (C.D. Cal.) (the “2017 EA Bankruptcy”).            (Indictment ¶¶ 50-

11   63.)

12           In February 2016, JFL filed an arbitration claim against EA LLP

13   and defendant (the “JFL Arbitration”).          (Indictment ¶ 51.)      In or

14   about February 2017, the arbitration panel ordered the deposition of

15   defendant and his office manager, J.R., to take place on March 3,

16   2017.       (Id.)   On or about March 1, 2017, a creditor of EA LLP filed

17   an involuntary Chapter 11 bankruptcy petition in the Middle District

18   of Florida.7        (Id. ¶ 52)   By law, the filing of the bankruptcy caused

19   an automatic stay of the JFL Arbitration. (Id.)

20           On or about March 8, 2017, the bankruptcy court stated that

21   unless EA LLP consented to the bankruptcy by March 10, 2017, the

22   court would grant relief from the automatic stay and allow the JFL

23

24           7
            The Chapter 11 involuntary bankruptcy petition was filed by a
     single creditor, Gerald Tobin, who claimed that EA LLP owed him
25   approximately $28,000. The filing of the petition was itself
     fraudulent. Additional evidence collected during the government’s
26   investigation demonstrates that Tobin filed the petition at the
     direction of defendant and with assistance from an attorney working
27   with defendant. The government will be seeking to admit this
     evidence at trial as it is inextricably intertwined with the
28   bankruptcy charges and is direct evidence of defendant’s fraudulent
     intent.
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 1   arbitration to proceed.     (Id. ¶ 53.)    On or about March 10, 2017, EA

 2   LLP consented to the order for relief, (id. ¶ 54), and, as a result,

 3   the automatic stay of the JFL arbitration remained in place.             In

 4   April 2017, the 2017 EA Bankruptcy was transferred to the Central

 5   District of California.     (Id. ¶ 56.)    JFL was one of the largest

 6   creditors of EA LLP.    The IRS was also a large creditor of EA LLP.

 7           From approximately March 2017 through March 2018, defendant

 8   failed to report as required, among other information, all revenues

 9   of EA LLP and payments and distributions defendant, as an insider,

10   received from EA LLP funds.     (Indictment ¶¶ 50-63.)      Additionally,

11   between March 2017 and March 2018, defendant defrauded the bankruptcy

12   court, the Office of the United States Trustee, and the creditors of

13   EA LLP, by concealing bank accounts controlled by EA LLP, the true

14   revenues generated by EA LLP, and the sources of revenue to EA LLP.

15   (Id.)

16           For example, on June 12, 2017, defendant falsely testified under

17   oath during a Section 341(a) debtor’s examination that EA LLP had not

18   received any attorney’s fees from the Super Bowl Litigation, when EA

19   LLP had in fact received two wire transfers totaling approximately

20   $1,361,000, including attorneys’ fees on May 17, 2017.          (Indictment

21   ¶ 67.)    Indeed, in order to conceal EA LLP’s receipt of the Super

22   Bowl Litigation settlement funds, in May 2017, defendant instructed

23   his co-counsel to wire approximately $952,995 of the funds from the

24   Super Bowl NFL Litigation to a separate attorney trust account at

25   City National Bank defendant had just recently opened in defendant’s

26

27

28

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 1   own name.8    (Karlous Decl. Ex. 3 at ¶¶ 41-48.)      Defendant also failed

 2   to disclose the receipt of these funds in the May 2017 monthly

 3   operating report defendant submitted under penalty of perjury.

 4   (Indictment ¶ 61.)    Defendant also concealed and failed to disclose

 5   the $1.6 million settlement payment EA LLP received on behalf of

 6   “Client 3” in January 2018 and subsequently stole from Client 3. (See

 7   id. ¶¶ 7(r)-(x), 65; Karlous Decl. Ex. 1 at ¶ 76.)

 8                2.   Endeavoring to Obstruct the Administration of the
                       Internal Revenue Code
 9
          Count Nineteen of the Indictment alleges that between October
10
     2016 and September 2018, defendant corruptly endeavored to obstruct
11
     and impede the due administration of the internal revenue laws of the
12
     United States.    (Indictment ¶¶ 19-26.)     As alleged in the Indictment,
13
     defendant’s coffee company, Global Baristas US LLC (“GBUS”), doing
14
     business as “Tully’s,” failed to timely file employment tax returns
15
     (IRS Forms 941) and pay over to the IRS approximately $3,207,144 in
16
     federal payroll taxes, including approximately $2,390,048 in trust
17
     fund taxes, which had been withheld from GBUS employees’ paychecks.
18
     (Indictment ¶ 16.)    Defendant was responsible for all of GBUS’s
19
     significant financial and business decisions, including the decision
20
     not to pay the payroll and trust fund taxes that GBUS owed to the
21

22

23        8  As set forth in the May 2019 affidavit submitted by IRS-CI
     Special Agent Remoun Karlous, beginning in 2012, defendant and EA LLP
24   represented approximately 200 individuals (the “Super Bowl Clients”)
     in connection with litigation against the National Football League
25   (“NFL”) relating to the 2011 Super Bowl. (Karlous Decl. Ex. 3 at
     ¶¶ 41-48.) The government has obtained extensive evidence
26   demonstrating that defendant embezzled substantial portions of the
     settlement proceeds from the Super Bowl Litigation intended for the
27   Super Bowl Clients. (Id.) The government will be seeking to admit
     this evidence at trial on the basis that this criminal conduct falls
28   squarely within and is inextricably intertwined with the charged wire
     fraud offenses.
                                       10
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 1   IRS.    (Indictment ¶¶ 14(c), 26(a).          Indeed, defendant was well aware

 2   of GBUS’s outstanding tax obligations, yet repeatedly refused to

 3   authorize the required tax payments to the IRS.            (Indictment ¶

 4   26(a);see also Karlous Decl. Ex. 1 at ¶¶ 21-47; Karlous Decl. Ex. 2

 5   at ¶¶ 12-17.)

 6          After the IRS initiated a collection action relating to GBUS’s

 7   outstanding payroll tax obligations in September 2016, issued an

 8   approximately $5,000,000 tax lien against GBUS in July 2017, and

 9   levied multiple GBUS bank accounts, defendant directed repeated

10   attempts to evade collection of those payroll taxes and obstruct the

11   IRS collection action.        (Indictment ¶¶ 19-26.)      Among other things,

12   defendant: (a) directed GBUS employees to deposit the cash receipts

13   from Tully’s stores into a bank account associated with a different

14   entity defendant controlled; (b) opened a new bank account for a

15   different entity defendant controlled, and then changed the company

16   name, Employer Identification Number, and bank account information

17   associated with GBUS’s merchant credit card processing accounts; (c)

18   changed the company name on various contracts with The Boeing

19   Company; and (d) caused significant amounts of GBUS’s funds, which

20   could and should have been used to pay GBUS’s payroll taxes, to be

21   transferred to other entities defendant controlled, including EA LLP

22   and A&A, and then used the funds for his personal purposes and to

23   make lulling payments to the wire fraud victims named in the

24   indictment.      (Indictment ¶ 26; see also Karlous Decl. Ex. 1 at ¶¶ 21-

25   47; Karlous Decl. Ex. 2 at ¶¶ 12-17.)           The clear purpose of this

26   conduct was to evade levies issued against GBUS and to prevent the

27   IRS from locating and collecting GBUS funds.           (Indictment ¶ 26; see

28

                                              11
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 1   also Karlous Decl. Ex. 1 at ¶¶ 21-47; Karlous Decl. Ex. 2 at ¶¶ 12-

 2   17.)

 3          C.    Defendant’s Prior Alleged Bond Violation
 4          On or about April 24, 2019, the government advised defendant and

 5   pretrial services that it believed defendant had violated the

 6   conditions of his release by threatening to disclose confidential and

 7   personal information regarding a victim and government witness.               (See

 8   CR 25.)     However, neither the government nor pretrial services sought

 9   to revoke defendant’s bond at that time.           (Id.)

10          D.    Defendant’s May 2019 Request for Appointment of Counsel
11          Although defendant was represented by retained counsel during

12   his initial appearance in this district on April 1, 2019 (CR 10),

13   defendant appeared for his post-indictment arraignment on April 29,

14   2019, without counsel (CR 23).         As a result, the Federal Public

15   Defender represented him at that time (CR 23), and the Court

16   scheduled a status conference on May 7, 2019, to address defendant’s

17   representation issues (CR 22).

18          On May 7, 2019, defendant appeared before this Court for a

19   status conference to address defendant’s representation issues, and

20   was again represented by the Federal Public Defender at this hearing.

21   (CR 27.)     At defendant’s request, the Court continued the status

22   conference until May 15, 2019, in order to allow defendant additional

23   time to “finalize” his representation with retained counsel.                (CR

24   27.)    The Court, however, advised defendant that by May 15, 2019,

25   defendant would have to choose one of three options:             (1) retain

26   private counsel; (2) submit a financial affidavit and seek

27   appointment of counsel; or (3) seek to represent himself after a
28   Faretta inquiry.       (CR 27.)
                                              12
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 1          On May 14, 2019, despite having just received a $1,000,000

 2   payment (see infra § III.B.1.), defendant submitted an ex parte

 3   application for an order appointing the Federal Public Defender to

 4   represent him in this matter.         (CR 28.)    Defendant’s ex parte

 5   application stated:

 6          The [Guide to Judiciary Policies and Procedures] indicates
            that a defendant is “financially unable to obtain counsel”
 7          under the Act if his or her “net financial resources and
            income are insufficient to obtain qualified counsel.”
 8          However, even if a defendant's net resources and income are
            in excess of the amount needed to cover the necessities of
 9          life, the court should find the defendant eligible for the
            appointment of counsel and order contribution when those
10          excess funds are insufficient to pay fully for retained
            counsel. Mr. Avenatti submits that he falls into the
11          latter category of eligibility and requests an opportunity
            to contribute to his representation.
12
     (CR 28 at 3-4 (internal citations omitted).)
13
            Additionally, rather than submit the required financial
14
     affidavit, defendant requested “that the Court defer determination of
15
     the amount of contribution until the end of the case in light of the
16
     complexity of his financial situation and the case . . . .”                 (CR 28.)
17
     The Court denied defendant’s ex parte application that same day.                (CR
18
     29.)
19
            The next day, May 15, 2019, H. Dean Steward was retained to
20
     represent defendant in this matter and appeared on defendant’s behalf
21
     at the status conference.        (CR 33.)     During the status conference,
22
     the Court ordered defendant to pay for all services rendered by the
23
     Federal Public Defender.        (CR 33.)      The government does not know
24
     whether defendant has complied with the Court’s order and paid the
25
     Federal Public Defender.
26

27

28

                                              13
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 1   III. STATEMENT OF FACTS
 2        A.     Defendant’s Debts
 3        Defendant and his companies, including EA LLP, are currently

 4   subject to numerous court judgments.       Indeed, as detailed below,

 5   defendant personally owes at least $11,000,000 to four creditors

 6   pursuant to valid judgments and tax warrants issued against him in

 7   California and Washington.9     His former law-firm, EA LLP, is also

 8   considerably in debt, including one $10,000,000 judgment relating to

 9   the 2017 EA Bankruptcy.

10               1.   $15 Million Debts to JFL

11        In December 2017, in connection with the 2017 EA Bankruptcy,

12   defendant, both individually and on behalf of EA LLP, entered into a

13   settlement agreement with JFL (the “JFL Settlement”).          (Karlous Decl.

14   Ex. 4); see also Motion for Order Approving Settlement, In re: Eagan

15   Avenatti LLP, No. 8:17-bk-11961-CB, Dkt. No. 343 (C.D. Cal. Jan. 30,

16   2018).    Under the terms of the settlement, JFL would consent to the

17   dismissal of the 2017 EA Bankruptcy,10 and JFL would receive an

18   allowed general unsecured claim of $10,000,000.         Id.   at 3-4.    Absent

19   a default by EA LLP and defendant (as guarantor), JFL would be paid a

20   total of $4,850,000 in full for its allowed claim by EA LLP.             Id.

21   Payment would be made in two installments: (a) $2,000,000 to be paid

22
          9 Although the government is aware of other debts and judgments
23   against defendant and his companies, for purposes of this motion, the
     government has focused on the four judgments referenced below.
24
          10 In order to obtain a dismissal of the 2017 EA Bankruptcy, EA
25   LLP also entered into a settlement agreement with the IRS relating to
     EA LLP’s failure to pay to the IRS approximately $2,389,005 EA LLP
26   owed, including approximately $1,288,277 in payroll taxes EA LLP had
     withheld from EA LLP’s paychecks. (Karlous Decl. Ex. 1, ¶ 50.) As
27   alleged in the indictment, defendant used funds he stole from Client
     4 to make EA LLP’s initial settlement payment to the IRS, and then
28   failed to make further required payments. (See id.; Indictment
     ¶ 7(cc)(i).)
                                       14
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 1   within 60 days of the dismissal of the 2017 EA Bankruptcy; and (b)

 2   $2,850,000 to be paid within 120 days of the dismissal.          Id.

 3        EA LLP and defendant did not make any of the payments to JFL

 4   required under the JFL Settlement.         As a result of EA LLP’s and

 5   defendant’s failure to comply with the JFL Settlement, on May 22,

 6   2018, the Bankruptcy Court issued a final judgment against EA LLP in

 7   favor of JFL in the amount of $10,000,000 (the “$10 Million JFL

 8   Federal Judgment”).    (Karlous Decl. Ex. 5.)      The $10 Million JFL

 9   Federal Judgment was subsequently registered with this Court and

10   judgment debtor proceedings were initiated in In re Eagan Avenatti,

11   LLP, No. 8:18-cv-1644-VAP-KES (C.D. Cal.) (the “Federal JFL Case”).

12        Separately, as a result of defendant’s failure to comply with

13   the JFL Settlement, on November 10, 2018, the Los Angeles Superior

14   Court entered a $5,054,287.75 judgment against defendant personally

15   (the “$5 Million JFL State Judgment”) in Jason Frank Law, PLC v.

16   Michael J. Avenatti, Los Angeles Superior Court, Case No. BC706555

17   (the “State JFL Case”).     (Karlous Decl. Ex. 6.)

18        Both before and after the indictment in this case, JFL engaged

19   in extensive efforts to enforce the judgments against EA LLP and

20   defendant personally.    Yet, in a clear effort to defraud JFL,

21   defendant repeatedly attempted to conceal his assets and provided

22   false testimony during judgment debtor examinations so as to prevent

23   JFL (and others) from enforcing these judgments and collecting the

24   funds defendant owes JFL.

25        On July 25, 2018, JFL conducted a judgment debtor examination of

26   defendant in connection with the 2017 EA Bankruptcy.          (Karlous Decl.

27   Ex. 7.)   During this examination, defendant was evasive and made

28   numerous false statements.     For example, defendant falsely claimed to

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 1   not know whether EA LLP had filed its tax returns and claimed to not

 2   recall how EA LLP had fallen $2 million behind in its payroll tax

 3   obligations. (Id. at 11-20, 27-30.) Defendant, however, was well

 4   aware that EA LLP had not filed tax returns for any tax years since

 5   2012 and had personally directed that EA LLP’s payroll taxes no

 6   longer be paid to the IRS.     (Indictment ¶¶ 32-36; Karlous Decl. Ex. 1

 7   at ¶¶ 48-55.)

 8        Defendant then attempted to avoid having to sit for a further

 9   judgment debtor examination in January 2019 by, among other things,

10   moving to disqualify JFL’s counsel.        Notably, on February 1, 2019,

11   the Honorable Virginia A. Phillips, Chief United States District

12   Judge, denied this motion finding that the motion was “tactically

13   abusive.”   Minute Order, In re Eagan Avenatti, LLP, No. 8:18-CV-1644-

14   VAP (KES), Dkt. No. 45 (C.D. Cal. Feb. 1, 2019).         Judge Phillips also

15   found that defendant was “repeatedly evasive at the [July 2018]

16   examination” and had failed to bring subpoenaed documents.           (Id.)

17   Additionally, on February 4, 2019, United States Magistrate Judge

18   Karen E. Scott recommended that Judge Phillips initiate contempt

19   proceedings against defendant due to defendant’s repeated refusals to

20   comply with a subpoena.     Order to Show Cause re Contempt, In re Eagan

21   Avenatti, LLP, No. 8:18-CV-1644-VAP (KES), Dkt. No. 48 (C.D. Cal.

22   Feb. 4, 2019).

23        On February 12, 2019, JFL filed a motion in the Federal JFL Case

24   seeking the appointment of a receiver for EA LLP and a restraining

25   order against EA LLP.    Among other things, JFL’s motion accused

26   defendant and EA LLP of bankruptcy fraud and improperly diverting EA

27   LLP’s assets to other companies or bank accounts defendant controlled

28   both during and after the 2017 EA Bankruptcy.        See Motion, In re:

                                           16
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 1   Eagan Avenatti LLP, No. 8:18-CV-1644-VAP (KES), Dkt. 51 (Feb. 12,

 2   2019).

 3           On February 13, 2019, JFL and defendant, both individually and

 4   as Managing Partner of EA LLP, filed a joint stipulation seeking the

 5   appointment of the EA Receiver and the issuance of a restraining

 6   order against EA LLP and defendant.        (See CR 55, Ex. 2.)    In exchange

 7   for defendant agreeing to the appointment of the EA Receiver and the

 8   terms of the Stipulated Receivership Order, JFL agreed to withdraw

 9   his motion.      (Id.)   The parties also agreed to continue the judgment

10   debtor examination of defendant from February 14, 2019, to March 8,

11   2019.    (Id.)

12           Despite defendant previously stipulating to the Receivership

13   Order that gave “sole authority regarding whether to file a petition

14   for bankruptcy to the receiver” (see CR 55, Ex. 2 at ¶ 14(s)), on

15   March 7, 2019, defendant filed a second bankruptcy petition on behalf

16   of EA LLP in In re The Trial Group, LLP a/k/a Eagan Avenatti, LLP,

17   No. 8:19-BK-10822 (C.D. Cal.) (the “2019 EA Bankruptcy”).           This

18   petition was filed for the specific purpose of avoiding the judgment

19   debtor examination of defendant that had been scheduled for the

20   following day.     On March 13, 2019, the Bankruptcy Court dismissed the

21   2019 EA Bankruptcy as defendant did not have the authority to file

22   the bankruptcy petition.      In re The Trial Group LLP, No. 8:19-BK-

23   10822, Dkt. No. 38.      The Bankruptcy Court also found that defendant

24   had violated the terms of the order appointing the receiver in the

25   JFL Litigation and scheduled an order to show cause hearing (“OSC”)

26

27

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 1   for May 8, 2019, to determine whether defendant should be sanctioned.

 2   Id., Dkt. No. 35.11

 3           On March 15, 2019, JFL conducted a judgment debtor examination

 4   of defendant in the State JFL Case.         (Karlous Decl. Ex. 8.)       During

 5   this examination, defendant was again evasive and continued to make

 6   false statements under oath.          For example, in response to the

 7   question, “Who owns Augustus LLP?”         Defendant answered, “I’m not at

 8   liberty to disclose that.       It’s not me.”     Defendant then answered

 9   “no” to the question, “do you have any direct or indirect interest in

10   Augustus LLP?”       (Karlous Decl. Ex. 8 at 96-98.)

11           In December 2018, however, defendant established a company

12   called Augustus LLP, and on February 13, 2019, defendant caused

13   business bank accounts at Union Bank to be opened under the name

14   Augustus LLP.       (Karlous Decl. Ex. 3 at ¶ 49.)    The application to

15   open the accounts listed defendant’s home address as the mailing

16   address for Augustus LLP and identified defendant as the

17   owner/partner of the business.         (Id.)   Defendant used this account to

18   make payroll payments to a number of EA LLP employees, as well as to

19   make further lulling payments to two of the wire fraud victims in

20   this case, Client 1 and Client 2.         (Id.)

21           On March 22, 2019, JFL conducted a judgment debtor examination

22   of defendant in the Federal JFL Case.          During this examination,

23   defendant was again evasive and made numerous false statements under

24   oath.        (Karlous Decl. Ex. 9.)   For example, defendant falsely

25   testified that “to best of [defendant’s] knowledge” EA LLP had filed

26

27
             11
             On April 17, 2019, defendant moved to stay the OSC in the
28   2019 EA Bankruptcy pending the resolution of this criminal case. The
     OSC hearing has since been continued to May 27, 2020.
                                       18
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 1   federal tax returns for each year since 2013, other than for the 2018

 2   tax year (which had “not been filed yet”), and that copies of the tax

 3   returns were “in the files of the firm in storage.”           (Karlous Decl.

 4   Ex. 9 at 31-33.)

 5        After defendant was charged in this case, JFL continued its

 6   efforts to enforce the judgments against EA LLP and defendant.           Among

 7   other things, JFL issued a number of subpoenas in an attempt to

 8   locate defendant’s remaining assets.        Defendant was well aware of

 9   JFL’s enforcement efforts.

10        For example, on April 2, 2019, JFL served a subpoena on

11   defendant’s prior counsel, Bienert Katzman PC (“Bienert”) requiring

12   Bienert to produce “all checks, wire transfers or other documents

13   reflecting any payments or retainers” Bienert received relating to

14   its representation of defendant.      See Motion to Compel, In re: Eagan

15   Avenatti, LLP, No. 8:18-cv-1644-VAP (KES), Dkt. No. 76 (C.D. Cal.

16   Apr. 29, 2019).    Defendant moved to quash the subpoena to Bienert and

17   JFL moved to compel Bienert to comply.        See Minute Order, In re:

18   Eagan Avenatti, LLP, No. 8:18-cv-1644-VAP (KES), Dkt. No. 95 (C.D.

19   Cal. July 3, 2019).    On July 2, 2019, the Court granted JFL’s motion

20   to compel and denied defendant’s motion to quash.         Id.

21        On July 18, 2019, JFL issued a subpoena to Chase and served

22   notice to defendant.     (Karlous Decl. Ex. 10.)     On July 19, JFL also

23   issued a subpoena to the Intercontinental Hotel for payment records

24   relating to a press conference defendant held at the hotel on July

25   18, 2019.   (Karlous Decl. Ex. 11.)        Defendant responded to the email

26   attaching the notice of subpoena as follows:        “I see desperation has

27   set in.   I paid cash.   Nice try.”    (Karlous Decl. Ex. 12.)

28

                                           19
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 1           In late-August 2019, JFL filed a motion for a turnover order in

 2   the State JFL Case relating to certain artwork that defendant

 3   purchased during a foreclosure auction brought by his second wife,

 4   Storie, to satisfy a separate $2.5 million judgement due to

 5   defendant’s past-due child and spousal support obligations.              (Karlous

 6   Decl. Ex. 13.)    In opposition to the motion, defendant submitted a

 7   declaration indicating he had turned the artwork over to his first

 8   ex-wife, Carlin, in order to satisfy a prior spousal and child

 9   support judgment.    (Id.)   In his declaration, defendant said that “I

10   have several creditors, many of whom have judgments against me.”

11   (Id.)    Although the Superior Court granted the turnover order on

12   August 29, 2019, defendant did not comply with the order because he

13   claimed he did not have possession, custody, or control of the

14   artwork at the time the order was issued.

15           On October 18, 2019, defendant testified in a further judgment

16   debtor examination in the State JFL Case.        (Karlous Decl. Ex. 14.)

17   Among other things, during the judgment debtor examination, defendant

18   was asked to identify the creditors that have judgements against

19   defendant.    Defendant responded:    “My first wife, my second wife,

20   [JFL], who’s the plaintiff in this action, Mr. William Parrish,

21   various taxing authorities, and I’m sure that there are others that I

22   am – that I can’t recall.”     (Id. at 8-9.)

23                2.   $2.2 Million Debt to William Parrish

24           On October 26, 2018, the Santa Barbara Superior Court issued a

25   judgment against defendant in favor of William J. Parrish in the

26   amount of approximately $2,194,302 in Parrish v. Avenatti, Santa

27   Barbara Superior Court Case No. 18CV04106 (the “Parrish Case”).

28   (Karlous Decl. Ex. 15.)      Although defendant initially appealed the

                                           20
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 1   judgment, the California Court of Appeal dismissed defendant’s

 2   appeal.   (Karlous Decl. ¶ 16.)

 3        On August 26, 2019, defendant was personally served with a

 4   notice for a judgment debtor examination in the Parrish Case.

 5   (Karlous Decl. Ex. 17.)     Defendant, however, failed to appear for the

 6   judgment debtor examination on two separate occasions.          (Karlous

 7   Decl. Exs. 18-19.)    Accordingly, on or about October 8, 2019, the

 8   Superior Court issued a bench warrant for defendant’s arrest.12

 9   (Karlous Decl. Exs. 19-20.)     After defendant filed an ex parte

10   application seeking to have the warrant recalled, and agreeing to sit

11   for a judgment debtor examination the following week (Karlous Decl.

12   Ex. 21), the court recalled the bench warrant on October 23, 2019

13   (Karlous Decl. Ex. 22).

14        On October 29, 2019, defendant appeared for a judgment debtor

15   examination in the Parrish Case.      (Karlous Decl. Ex. 23.)       Among

16   other things, when defendant was asked whether he was “aware of any

17   individuals or entities holding title to real property on

18   [defendant’s] behalf,” he responded “[n]ot that I can think of.”

19   (Karlous Decl. Ex. 23 at 50.)      As set forth further below, this

20   testimony was false as defendant’s first ex-wife, Carlin, was holding

21   title to a Mercedes Benz that was purchased at defendant’s direction

22   with funds Carlin received from defendant.        (See supra § III.B.4.)

23              3.   $2.5 Million Spousal and Child Support Debt to Storie

24        Defendant married his second wife, Lisa Storie, on or about May

25   9, 2011, and they had one minor child born in August 2014.           Defendant

26

27
          12The government does not currently know whether defendant
28   disclosed the issuance of the bench warrant to his pretrial services
     officer.
                                       21
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 1   and Storie separated in approximately October 2017, and a divorce

 2   proceeding in Orange County Superior Court commenced in or about

 3   January 2018.   On or about April 23, 2018, defendant and Storie

 4   stipulated to the custody and support terms in which both parties

 5   agreed that defendant would pay, among other required expenditures,

 6   approximately $9,000 per month in child support and $28,000 per month

 7   in spousal support to Storie.      (Karlous Decl. Ex. 24.)      The Honorable

 8   Carol L. Henson, Orange County Superior Court Judge, ordered the

 9   support payments pursuant to the stipulation of the parties.             (Id.)

10        On October 22, 2018, Judge Henson issued her Findings and Order

11   After Hearing (“Support Order”), in which, among other findings, she

12   ordered: defendant to pay child support on behalf of their minor son

13   to Storie, retroactively to January 1, 2018, of $37,897 per month;

14   and defendant to pay spousal support to Storie, retroactively to

15   January 1, 2018, of $124,398 per month.       (Karlous Decl. Ex. 25.)

16   Defendant was ordered to appear for a judgment debtor examination on

17   December 7, 2018, as part of his divorce proceedings.          (Karlous Decl.

18   Ex. 26.)   On or about November 30, 2018, defendant entered into a

19   stipulation to postpone the examination and defendant agreed to turn

20   over a Ferrari; five watches; at least thirteen pieces of artwork;

21   and defendant’s entire legal and equitable interest in Passport 420,

22   LLC, which owned a Honda Jet, in which defendant held such interest

23   through Avenatti and Associates, APC.13       (Id.)    Defendant further

24   agreed to turn over all banking records related to EA LLP, A&A, and

25   defendant individually by December 20, 2018.          (Id.)   Judge Henson

26

27
          13Defendant purchased the Honda Jet using settlement funds he
28   stole from Client 2. (Indictment ¶ 7(p).) In April 2019, the
     government seized the Honda Jet.
                                      22
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 1   issued the Order pursuant to the parties’ stipulation on December 4,

 2   2018.    (Id.)

 3           On or about January 17, 2019, a writ of execution was issued in

 4   in the divorce proceeding in the total amount, including principal,

 5   interest and cost of $2,053,332 against defendant and in favor of

 6   Storie.    (Karlous Decl. Ex. 27.)    The debt was based on the court’s

 7   previously issued orders on April 23, 2018, and October 22, 2018.

 8   (Id.)    On or about January 25, 2019, the Honorable Nathan Vu, Orange

 9   County Superior Court Judge, issued a “Turnover Order,” in which the

10   court ordered defendant, the judgment debtor in the divorce

11   proceedings, to immediately turn over, among other things: 100% of

12   the shares in the corporation Avenatti & Associates; 100% of the

13   funds due and owing to defendant from The Fight PAC; three watches;

14   and all artwork at Orange County Fine Art Storage held in defendant’s

15   name or held under Avenatti & Associates.        The Order concluded with,

16   “FAILURE TO COMPLY WITH THE ORDER MAY SUBJECT THE JUDGMENT DEBTOR TO
17   ARREST AND PUNISHMENT FOR CONTEMPT OF COURT.”        (Id. (bold and caps in
18   the original).)

19           Defendant sought to set aside the Turnover Order.       (Karlous

20   Decl. Ex. 28.)    On February 14, 2019, Judge Vu ordered that during

21   the pendency of the litigation, defendant was “prohibited from

22   transferring, encumbering, hypothecating, concealing, or in any way

23   disposing of the assets that are the subject of the [January 25,

24   2019] Turnover Order. . . .”      (Id.)    On April 4, 2019, Judge Vu

25   issued an “Order To Deliver Specific Property,” whereby Judge Vu

26   determined defendant still owed over $2 million to Storie as of

27   January 9, 2019, and required defendant to turn over to Storie the

28   property previously ordered on January 25, 2019, as well as 100% of

                                           23
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 1   defendant’s interest in EA LLP held in defendant’s name or held in

 2   Avenatti & Associates to satisfy his outstanding debt to Storie.

 3   (Karlous Decl. Ex. 29.)

 4          On June 5, 2019, the Honorable Julie A. Palafox, Orange County

 5   Superior Court Judge, ordered defendant to show cause why he should

 6   not be found guilty of contempt for willfully disobeying the court’s

 7   orders, including defendant’s continued failure to provide personal

 8   and business tax returns and bank account statements that defendant

 9   was ordered to produce as early as May 15, 2018.14            (Karlous Decl. Ex.

10   30.)    On or about October 28, 1019, Judge Vu denied defendant’s

11   motion to set aside the Child and Spousal Support Orders filed on

12   October 22, 2018.       (Karlous Decl. Ex. 31.)      As of August 20, 2019,

13   when defendant bought the artwork at the foreclosure auction, his

14   outstanding debt to Storie on the April 23, 2018, and October 22,

15   2018, judgments rendered against defendant was approximately

16   $2,553,089.       (Karlous Decl. Ex. 33.)

17                4.     $1.5 Million Debt to Washington Department of Revenue

18          On January 17, 2019, the Washington Department of Revenue filed

19   a Warrant for Unpaid Taxes in Thurston County Superior Court.

20   (Karlous Decl. Ex. 34.)        The Warrant indicated that defendant

21   personally owed the Washington Department of Revenue approximately,

22   $1,530,216, including approximately $995,208 in unpaid taxes from

23   July 2017 through March 2018.         (Id.)   It appears that these unpaid

24   taxes directly relate to defendant’s failure to pay state taxes in

25   connection with GBUS.       (See Karlous Decl. Ex. 2 at ¶ 14 (indicating

26

27
            14
            Citing defendant’s ongoing federal criminal matters, defendant
28   has obtained continuances of his contempt hearing until February
     2020.
                                       24
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 1   that defendant was aware that GBUS had failed to make required tax

 2   payments to the State of Washington).)

 3           In an effort to enforce the Warrant, the Washington Department

 4   of Revenue subsequently issued levies on a number of defendant’s bank

 5   accounts.    On or about June 14, 2019, the Washington Department of

 6   Revenue issued a Notice and Order to Withhold and Deliver to Chase

 7   Bank.    (Karlous Decl. Ex. 35.)     The Washington Department of Revenue

 8   collected approximately $32,072 from defendant’s Chase bank account

 9   as a result of this levy.       (Karlous Decl. Ex. 39 at 24.)     On or about

10   July 1, 2019, and July 29, 2019, additional levies were served on

11   defendant’s Chase account.       (Id. at 36, 43.)

12           On or about August 26, 2019, the Washington Department of

13   Revenue issued a Notice and Order to Withhold and Deliver to U.S.

14   Bank.    (Karlous Decl. Ex. 36.)     The Washington Department of Revenue

15   collected approximately $280 from defendant’s U.S. Bank account as a

16   result of this levy.        (Karlous Decl. Ex. 40 at 59.)

17           B.   Defendant’s Efforts to Conceal His Assets from His
                  Creditors
18
                  1.      Defendant’s Receipt of a $1,000,000 Settlement Payment
19                        in Early-May 2019

20           On March 14, 2019, defendant signed a letter on Avenatti &

21   Associates, APC (A&A) letterhead, to counsel representing a potential

22   defendant in a civil case, that “this office represents [E.S.]” in

23   connection with an incident that had occurred on March 3, 2019.

24   (Karlous Decl. Ex. 37.)       On April 17, 2019, defendant and E.S. signed

25   a settlement agreement in which the opposing party was to pay $2

26   million dollars to E.S. and $1 million to defendant on or before May

27   8, 2019.     (Id.)    Despite defendant claiming the previous month A&A

28   represented E.S., the settlement agreement called for the $1 million

                                            25
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 1   payment be made payable to defendant, individually.         (Id.)    On April

 2   30, 2019, a $1 million cashier’s check was issued to defendant

 3   pursuant to the settlement agreement.       (Karlous Decl. Ex. 38.)

 4               2.    Defendant Opened a Chase Bank Account in May 2019

 5        On May 7, 2019, defendant opened a personal checking account at

 6   the Newport Center Fashion Island Branch of Chase Bank with an

 7   initial deposit of $1 million, consisting solely of the $1,000,000

 8   check issued to defendant in the E.S. matter on April 30, 2019.

 9   (Karlous Decl. Ex. 39 at 1-4, 8-9.)       On May 8, 2019, defendant

10   withdrew $871,821.03 from the account to purchase the following

11   cashier’s checks in the following amounts: $717,723 payable to Carlin

12   with “per judgment” in the memo section; $29,264 payable to Smart

13   Tuition for defendant’s daughter’s private school tuition; $50,000 to

14   Shulman Hodges & Bastian LLP, the law firm that represented defendant

15   in various bankruptcy-related proceedings; $26,218.67 to Stegmeier,

16   Gelbert, Schwartz, Benquente, the law firm that represented defendant

17   in his divorce proceedings with Storie; $34,425.36 to SM 10000 with

18   “2107” in the memo line; and $9,720 to CH Services with “2107” in the

19   memo line.15     (Id. at 4-5, 46-51.)

20        On May 13, 2019, defendant withdrew an additional $23,200 from

21   the account and with part of the withdrawal, purchased a cashier’s

22   check for $19,200 to Stegmeier, Gelbert, Schwartz, Benquente.            (Id.

23   at 52.)    On May 21, 2019, defendant withdrew $4,000 in cash and

24   withdrew an additional $40,000 to purchase a cashier’s check made

25   payable to defendant.     (Id. at 53.)    Defendant made numerous other

26   transactions throughout the month of May 2019.         (Id. at 4-7.)     The

27

28
          15   Defendant lived at 10000 Santa Monica Boulevard, Unit 2107.
                                         26
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 1   ending balance in the account as of May 31, 2019, was $4,150.56,

 2   despite an initial balance of $1 million on May 7, 2019.          (Id. at 7.)

 3        On June 7, 2019, the account balance was $1,240.98, before

 4   defendant redeposited the $40,000 cashier’s check he had purchased in

 5   own his name on May 21, 2019.      (Id. at 23.)    On June 14, 2019, the

 6   Washington Department of Revenue issued a levy on the Chase Bank

 7   account and obtained $32,071.90, the approximate balance in the Chase

 8   account.   (Id. at 24; Karlous Decl. Ex. 35.)       On or about July 1,

 9   2019, and July 29, 2019, additional levies were served on defendant’s

10   Chase account, resulting in $955.94 and $70.78 being seized from

11   defendant’s account.    (Karlous Decl. Ex. 39 at 36, 43.)        As of at

12   least July 24, 2019, defendant carried a negative balance in the

13   account and basically had no further activity in the account.16             (Id.

14   at 36.)

15              3.   Carlin Opened a U.S. Bank Account in May 2019

16        On May 8, 2019, defendant’s first ex-wife, Carlin, opened an

17   individual checking account in her name only at the Michelson Branch

18   of U.S. Bank in Irvine, California.        (Karlous Decl. Ex. 40 at 4.)

19   Carlin’s initial deposit into the account was the $717,723 cashier’s

20   check that defendant purchased at Chase Bank the same day.17             (Karlous

21   Decl. Ex. 39 at 46.)    On May 9, 2019, Carlin purchased the following

22   two cashier’s checks in the following amounts at the Arcadia Foothill

23   Branch of U.S. Bank: $250,000 made payable to the Law Offices of Evan

24

25        16 As described above, on July 18, 2019, JFL served a subpoena on
     Chase Bank and provided notice to defendant of the subpoena.
26
          17 For at least several years prior to the opening of this

27   account at U.S. Bank, and at all times while Carlin used this account
     at U.S. Bank, Carlin had a joint checking account with her current
28   husband at USAA.

                                           27
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 1   A. Jenness;18 and $52,983.28 made payable to Mercedes Benz of

 2   Arcadia.19       (Karlous Decl. Ex. 40 at 8-11.)   On May 13, 2019, Carlin

 3   purchased a $500,000 cashier’s check made payable to defendant (id.

 4   at 12-13), which, as described below, defendant did not deposit until

 5   May 22, 2019 (supra § III.B.5).20       A review of the bank account

 6   appears to show Carlin spent the remainder of money in the account

 7   paying off credit cards and making personal expenditures.

 8                   4.   Defendant Used Carlin as a Nominee to Purchase a 2014
                          Mercedes Benz S550 in May 2019
 9
             Special Agent Karlous has obtained records from Mercedes Benz of
10
     Arcadia as well as interviewed Fleet Manager/Sales Representative
11
     J.O. responsible for the sale of a 2014 Mercedes Benz S550 with VIN
12
     ending in 8895 (“S550”).       (Karlous Decl. ¶¶ 51-52.)    On May 6, 2019,
13
     defendant spoke with J.O. regarding the S550 that the dealership had
14
     for sale, and J.O. sent photographs of the car to defendant.             (Id. at
15
     ¶ 52.)       Defendant stated that he would come into the dealership to
16
     look at the car and defendant did so later that day.          That same day,
17
     May 6, 2019, defendant filled out the paperwork to purchase the S550.
18
     (Id.)        Defendant provided an Arizona Driver’s License in defendant’s
19
     name as well as an address in Arizona. (Karlous Decl. Ex. 43.)
20

21
             18
             Evan Jenness had previously represented defendant at least in
22   relation to his domestic violence arrest in November 2018. Moreover,
     as described above, on May 7, 2019, defendant requested this Court to
23   continue his matter for an additional week for him to finalize his
     “representation issues.” The cashier’s check made payable to Ms.
24   Jenness was redeposited the following day, May 10, 2019, with the
     note, “not used for purpose intended.”
25        19 The purchase of the Mercedes Benz and defendant being present
     with Carlin at the Arcadia Foothill Branch of U.S. Bank is described
26   infra, Section III.B.4.
27        20 As detailed above, on May 14, 2019, the Federal Public
     Defender’s Office filed an ex parte application with this Court
28   seeking to represent defendant without defendant having to file a
     financial affidavit.
                                       28
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 1           Among the paperwork defendant completed, defendant signed a

 2   California Department of Tax and Fee Administration Form in which

 3   defendant certified that the car was being purchased for use outside

 4   of California, not for storage, use, or consumption in California,

 5   and would be used at the address in Arizona.        (Id. at 6.)     The

 6   certification defendant signed was for the purpose of waiving the

 7   California Sale and Use Tax.       (Id.)   Defendant signed the

 8   certification above the bold print that stated: “Fraudulent use of

 9   this statement to avoid the payment of California sales and use tax

10   may result in severe penalties.”       (Id.)   After defendant told J.O.

11   that he would be registering the S550 out-of-state, J.O. told

12   defendant that the dealership would need to transport the car to the

13   state where the car is registered.         (Karlous Decl. ¶ 52.)    After

14   defendant completed the paperwork to purchase the S550, defendant

15   told J.O. that defendant’s business manager would wire the money into

16   the dealership to purchase the car.        (Id.)

17           On May 8, 2019, J.O. called defendant because the money to

18   purchase the car had not arrived to the dealership.         (Id.)    Defendant

19   told J.O. that defendant was no longer interested in buying the car,

20   but defendant knew someone that was interested in buying the S550.

21   (Id.)        Defendant returned to the dealership on May 9, 2019, with

22   Carlin; defendant told J.O. that Carlin was defendant’s ex-wife.

23   (Id.)        Carlin filled out the paperwork to buy the same S550 that

24   defendant claimed to be purchasing two days prior.21         (Karlous Decl.

25   Ex. 43 at 16-21.)       Because Carlin wanted to purchase the S550 with a

26

27
             21
            Although the price for the car remained the same, because
28   Carlin provided her actual residence in California, the final cost
     was approximately $3,800 more due to California taxes.
                                       29
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 1   cashier’s check, J.O. told her the dealership’s policy required J.O.

 2   to accompany Carlin to the bank to purchase the cashier’s check.

 3   (Karlous Decl. ¶ 52.)    J.O. followed Carlin and defendant to the

 4   Arcadia Foothill Branch of U.S. Bank and was present inside the bank

 5   when Carlin purchased the cashier’s check to buy the S550 using the

 6   funds she had just received from defendant the day before.           (Id.)

 7        On three occasions between December 17, 2019, and January 7,

 8   2020, Special Agent Karlous observed and photographed the S550

 9   purchased in Carlin’s name parked at the house of J.C., and

10   individual known to be defendant’s personal driver, as well as

11   observing J.C. driving the S550 on December 17, 2019.          (Karlous Decl.

12   ¶ 53.)   Moreover, in declarations and photographs submitted in the

13   State JFL Case, defendant was observed leaving the foreclosure

14   auction on August 20, 2019, in the S550.        (Karlous Decl. Ex. 44.)

15   Defendant also testified at his October 18, 2019, judgment debtor

16   examination that he took an Uber to the courthouse for his testimony;

17   however, after the examination concluded, J.C. was parked outside of

18   the courthouse in the S550.

19              5.   Defendant Opened a U.S. Bank Account in May 2019 and
                     Began Flipping Cashier’s Checks in June 2019
20
          On May 22, 2019, defendant opened a Platinum Select Money Market
21
     Savings Account with U.S. Bank at its Century City Branch.
22
     Defendant’s initial deposit to open the account was the $500,000
23
     cashier’s check Carlin purchased on May 13, 2019 and which was
24
     derived entirely from the $1,000,000 E.S. settlement payment.
25
     (Karlous Decl. Ex. 40 at 3; see also Karlous Decl. Ex. 42
26
     (summarizing defendant’s U.S. Bank transactions).)         On May 23, 2019,
27
     defendant made two wire transfers of $150,000, totaling $300,000, to
28

                                           30
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 1   the two attorneys representing defendant at that time in defendant’s

 2   SDNY Extortion Case.      (Id.)   On June 7, 2019, defendant withdrew

 3   $25,000 to purchase a cashier’s check payable to H. Dean Steward, his

 4   counsel of record in this case.      (Id.)   As of June 14, 2019,

 5   defendant had approximately $170,000 available in his U.S. Bank

 6   account.22    (Id.)

 7        On June 17, 2019, the next banking day after the Washington

 8   Department of Revenue located and levied defendant’s Chase bank

 9   account, defendant drained his U.S. Bank account and began flipping

10   cashier’s checks to himself.      (Id.)   Defendant would purchase

11   cashier’s checks payable to himself so as to drain his bank accounts

12   of any remaining funds, hold onto the cashier’s checks, and would

13   then briefly “deposit” the cashier’s checks to immediately access the

14   funds, and would then purchase additional cashier’s checks payable to

15   himself.     (Id.)    Based on Special Agent Karlous’s training and

16   experience, he knows that individuals that purchase cashier’s checks

17   in their own name and hold on to the cashier’s checks, often do so to

18   evade creditors and law enforcement, specifically to prevent the

19   seizure of the funds.      Karlous Decl. ¶ 49.)    Additionally, each time

20   defendant purchased or deposited a cashier’s check, U.S. Bank would

21   necessarily have to transmit data electronically to U.S. Bank’s

22   servers outside of California in order to complete the transactions.

23   (Karlous Decl. ¶ 50.)

24        As set forth below and in Exhibit 42 to the Declaration of Agent

25   Karlous, defendant engaged in this cashier’s check flipping scheme on

26

27        22As described supra, on June 14, 2019, which was a Friday, the
     Washington Department of Revenue levied defendant’s bank account at
28   Chase and seized the approximately $32,000 defendant had in that
     account.
                                       31
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 1   at least nine different occasions between June 2019 and September

 2   2019 in an effort to conceal his assets from his creditors:

 3           On Monday, June 17, 2019, defendant withdrew $169,000 from
 4            his U.S. Bank account, including $8,500 in cash and purchased

 5            two cashier’s checks payable to himself in the amounts of

 6            $8,500 and $152,000.    Defendant cashed the $8,500 cashier’s

 7            check on June 21, 2019.

 8           On June 24, 2019, defendant “deposited” the $152,000
 9            cashier’s check defendant purchased the prior week payable to

10            himself, and immediately withdrew the full amount by

11            withdrawing $8,000 in cash and purchasing two new cashier’s

12            checks payable to himself in the amounts of $9,000 and

13            $135,000.23   Defendant cashed the $9,000 cashier’s check on

14            July 8, 2019.

15           On July 16, 2019, defendant “deposited” the $135,000
16            cashier’s check defendant purchased on June 24, 2019, payable

17            to himself, and immediately withdrew the full amount by

18            withdrawing $6,800 in cash and purchasing the following three

19            cashier’s checks in the following amounts: $12,500 made

20            payable to Pansky Markle, the law firm representing defendant

21            in his state bar disciplinary proceedings; $10,700 made

22            payable to Exclusive Resorts;24 and $105,000 payable to

23            himself.

24
          23 Defendant actions of “depositing” the cashier’s checks made
25   payable to himself and immediately withdrawing cash and purchasing
     additional cashier’s checks did not actually result in money being
26   put in the account. On a few occasions, the manner in which
     defendant conducted his transactions caused the bank to not even
27   account for defendant’s transactions in his account.
28        24 Defendant’s payments and use of Exclusive Resorts is discussed
     infra.
                                       32
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 1      On July 22, 2019, defendant “deposited” the $105,000
 2       cashier’s check defendant purchased the prior week payable to

 3       himself, and immediately withdrew the full amount by

 4       withdrawing $4,500 in cash and purchasing two new cashier’s

 5       checks payable to himself in the amounts of $8,000 and

 6       $92,500.    Defendant cashed the $8,000 cashier’s check on July

 7       31, 2019.   Notably, after defendant started purchasing

 8       cashier’s checks payable to himself on June 17, 2019, he

 9       never had more than $2,284 in his account at any time, and by

10       July 31, 2019, defendant never had more than $380 in his

11       account.

12      On August 16, 2019, defendant “deposited” the $92,500
13       cashier’s check defendant purchased on July 22, 2019, payable

14       to himself, and immediately withdrew the full amount by

15       withdrawing $7,000 in cash and purchasing the following four

16       cashier’s checks in the following amounts: $10,000 made

17       payable to Pansky Markle; $25,000 made payable to Exclusive

18       Resorts; $11,200 payable to SM 10000, defendant’s residence;

19       and $39,300 payable to himself.

20      On August 19, 2019, defendant “deposited” the $39,300
21       cashier’s check defendant purchased the prior week payable to

22       himself, and immediately withdrew the full amount by

23       withdrawing $6,300 in cash and purchasing a new cashier’s

24       check payable to himself in the amounts of $33,000.

25      On August 20, 2019, defendant “deposited” the $33,000
26       cashier’s check defendant purchased the prior day payable to

27       himself, and immediately withdrew the full amount by

28       purchasing the following two cashier’s checks in the

                                       33
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 1             following amounts: $15,500 payable to the Orange County

 2             Sheriff; and $17,500 payable to himself.25

 3            On August 30, 2019, defendant “deposited” the $17,500
 4             cashier’s check defendant purchased on August 20, 2019,

 5             payable to himself, and immediately withdrew the full amount

 6             by withdrawing $4,700 in cash and purchasing the following

 7             two cashier’s checks in the following amounts: $2,800 payable

 8             to J.C., defendant’s driver; and $10,000 payable to himself.

 9            On September 10, 2019, defendant “deposited” the $10,000
10             cashier’s check defendant purchased on August 30, 2019,

11             payable to himself, and immediately withdrew the full amount

12             by withdrawing $7,760 in cash and purchasing a new cashier’s

13             check payable to Anderson & Associates in the amount of

14             $2,240.

15   (See Karlous Decl. Exs. 40-42.)      There does not appear to be any

16   legitimate purpose for the manner in which defendant conducted these

17   financial transactions, specifically his flipping of cashier’s

18   checks.

19        Defendant also appears to have structured his withdrawals and

20   purchase of cashier’s checks to evade currency transaction reporting

21   requirements.       As detailed in Exhibit 42 to Agent Karlous’s

22   declaration, on the following ten occasions defendant either withdrew

23

24

25
          25As noted above, defendant bought artwork from an Orange County
26   Sheriff foreclosure auction on August 20, 2019; the funds went to pay
     an over $2.5 million judgement Storie. Despite having made very
27   limited payments towards his child or spousal support obligations in
     two years, resulting in the $2.5 million judgment, defendant used
28   $15,500 cashier’s check to buy his artwork back, and kept the other
     $17,500 cashier’s check.
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 1   cash or cashed cashier’s checks written to himself in amounts below

 2   the $10,000 reporting requirement:

 3           On June 17, 2019, defendant withdrew $8,500 in cash;
 4           On June 21, 2019, defendant cashed a $8,500 cashier’s check
 5            he purchased on June 17, 2019;

 6           On June 24, 2019, the next business day, defendant withdrew
 7            $8,000 in cash;

 8           On July 8, 2019, defendant cashed a $9,000 cashier’s check he
 9            purchased on June 24, 2019;

10           On July 16, 2019, defendant withdrew $6,800 in cash;
11           On July 22, 2019, defendant withdrew $4,500 in cash;
12           On July 31, 2019, defendant cashed $8,000 cashier’s check
13            purchased on July 22, 2019;

14           On August 16, 2019, defendant withdrew $7,000 in cash;
15           On August 19, 2019, the next business day, defendant withdrew
16            $6,300 in cash;

17           On August 30, 2019, defendant withdrew $4,700 in cash; and
18           On September 10, 2019, defendant withdrew $7,760 in cash.
19   (Karlous Decl. Exs. 40-42.)     On several occasions, defendant

20   purchased the cashier’s check simultaneously to withdrawing cash just

21   below the $10,000 reporting requirement, and then merely cashed the

22   cashier’s check a few days later.

23        Additionally, on August 26, 2019, the Washington Department of

24   Revenue levied defendant’s account at U.S. Bank, which after fees

25   were deducted, resulted in Washington Department of Revenue seizing

26   approximately $280 in September 2019.       (See infra III.A.3.)

27   Defendant largely stopped using the U.S. Bank account after the levy

28   was issued and the funds were seized.       (Karlous Decl. Exs. 40, 42.)

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 1   Indeed, as of September 10, 2019, the account balance was zero.

 2   (Karlous Decl. Ex. 40 at 57-59.)         In addition, as of September 2019,

 3   none of the $1 million payment that defendant had obtained in the

 4   E.S. settlement and initially deposited four months earlier on May 7,

 5   2019, remained in any bank account in defendant’s name.             (Karlous

 6   Decl. Exs. 39, 40, 42.)

 7                6.    Defendant’s Exclusive Resorts Membership

 8          Exclusive Resorts is a company located in Colorado that

 9   advertises itself as the world’s elite private vacation club.

10   Defendant had a membership with Exclusive Resorts for years and

11   travelled numerous times domestically and internationally through

12   Exclusive Resorts.

13          On June 11, 2019, defendant electronically signed a new

14   agreement with Exclusive Resorts to modify his membership plan and

15   submitted it to Exclusive Reports in Colorado.            (Karlous Decl. Ex.

16   45.)    As described above, defendant also purchased $10,700 and

17   $25,000 cashier’s checks -- in Century City, California -- made

18   payable to Exclusive Resorts on July 16, 2019, and August 18, 2019,

19   respectively, and were deposited into Exclusive Resorts’ bank account

20   in Denver, Colorado; thus, the cashier’s checks would have been

21   mailed to Exclusive Resorts in Colorado.           (See Karlous Decl. Exs. 42,

22   45.)    Defendant used Exclusive Resorts luxury properties in

23   California, Florida, and New York on four occasions between August

24   and November 2019.       (Karlous Decl. Ex. 45 at 19.)

25          From September 8-15, 2019, R.S., an individual identified in at

26   least two interviews as defendant’s current girlfriend, stayed at an

27   Exclusive Resort in Tuscany, Italy, as a guest of defendant’s on

28   defendant’s membership.        (Id.)   The government notes R.S.’s travel as

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 1   it happened at the same time defendant’s creditors found and levied

 2   defendant’s bank accounts and defendant stopped using both his Chase

 3   and U.S. Bank accounts.       In addition, defendant’s girlfriend

 4   travelled to Italy, a country that defendant obtained citizenship and

 5   had an Italian Passport upon arrest, which raises questions about

 6   whether defendant has any assets there.

 7   IV.   ARGUMENT
 8         A.     Applicable Legal Standards
 9         Title 18, United States Code, Section 3148(a), provides that a

10   defendant who has been ordered released pending trial pursuant to

11   § 3142 of the Bail Reform Act, and “who has violated a condition of

12   his release, is subject to a revocation of release, an order of

13   detention and a prosecution for contempt of court.”           The revocation

14   proceedings may be initiated by motion of the government.             18 U.S.C.

15   § 3148(b).    Section 3148(b) provides:

16         The judicial officer shall enter an order of revocation and
           detention if, after a hearing, the judicial officer -
17
           (1) finds that there is -
18
                (A) probable cause to believe that the person has
19         committed a Federal, State, or local crime while on
           release;
20
                  . . . and
21
           (2) finds that –
22
                (A) based on the factors set forth in section 3142(g)
23         of this title, there is no condition or combination of
           conditions of release that will assure that the person will
24         not flee or pose a danger to the safety of any other person
           or the community; or
25
                (B) the person is unlikely to abide by any condition
26         or combination of conditions of release.

27         If there is probable cause to believe that, while on
           release, the person committed a Federal, State, or local
28         felony, a rebuttable presumption arises that no condition

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 1        or combination of conditions will assure that the person
          will not pose a danger to the safety of any other person or
 2        the community.

 3
     18 U.S.C. § 3148(b) (emphases added); see also United States v.
 4
     Jalloh, SA CR No. 15-129-CJC, 2016 WL 4939102 (C.D. Cal. Sep. 13,
 5
     2016) (applying 18 U.S.C. § 3148(b)).       As discussed below, the
 6
     government’s proof satisfies all of these conditions.
 7
          B.   There is Probable Cause to Believe that Defendant Has
 8             Committed Federal Crimes While on Pretrial Release
 9        In United States v. Cook, 880 F.2d 1158, 1160 (10th Cir. 1989),

10   the Tenth Circuit held that probable cause to believe that a

11   defendant has committed a felony while on release is satisfied when

12   “the facts available to the judicial officer ‘warrant a man of

13   reasonable caution in the belief’ that the defendant has committed a

14   crime while on bail.” Id. (quoting United States v. Gotti, 794 F.2d

15   773, 333 (2d Cir. 1986)); see also United States v. Aron, 904 F.2d

16   221, 224 (5th Cir. 1990) (adopting same standard).

17        There is probable cause to believe that defendant has continued

18   to commit federal felonies while on pretrial release, including, mail

19   fraud, in violation of 18 U.S.C. § 1341, wire fraud, in violation of

20   18 U.S.C. § 1343, and structuring of currency transactions to evade

21   reporting requirements, in violation of 31 U.S.C. § 5324(a)(3).

22             1.    Mail and Wire Fraud

23        To establish that defendant committed mail and/or wire fraud,

24   the government would be required to prove that: (1) defendant

25   knowingly devised or knowingly participated in a scheme or plan to

26   defraud, or a scheme or plan for obtaining money or property by means

27   of false or fraudulent pretenses, representations or promises; (2)

28   the statements made or the facts omitted as part of the scheme were

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 1   material; (3) defendant acted with the intent to defraud; and (4) in

 2   advancing or furthering or carrying out the scheme, the defendant

 3   used the mails/wires or caused the mails/wires to be used.             United

 4   States v. Woods, 335 F.3d 993, 997 (9th Cir. 2003).           The mail and

 5   wire fraud statutes encompass any scheme or artifice to defraud,

 6   regardless of whether the scheme involved a specific false statement.

 7   Id.

 8         Here, defendant engaged in a scheme to defraud his creditors,

 9   including JFL and Storie, both before and after the issuance of the

10   indictment in this case.       As noted above, defendant agreed to pay JFL

11   and Storie millions of dollars to settle various claims and has since

12   used the mail and interstate wirings to defraud his victim creditors,

13   including JFL and Storie.       (Supra § III.A.)     Moreover, defendant

14   concealed and fraudulently transferred his assets in order to avoid

15   paying his creditors the money to which they were -- and are --

16   legally entitled. (Supra § III.B.)

17               2.    Structuring

18         To establish that defendant committed structuring, the

19   government would be required to prove: (1) defendant structured a

20   currency transaction; (2) the transaction involved a domestic

21   financial institution; (3) defendant did so with knowledge that the

22   financial institution was legally obligated to report currency

23   transactions in excess of $10,000; and (4) defendant acted with the

24   intent to evade that reporting requirement.          31 U.S.C. § 5324(a)(3);

25   United States v. Pang, 362 F.3d 1187, 1193-94 (9th Cir. 2004); United

26   States v. MacPherson, 424 F.3d 183, 189 (2d Cir. 2005).            A pattern of

27   structured transactions may, by itself, establish that defendant had

28

                                             39
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 1   knowledge of any intent to evade currency reporting requirements.

 2   Id. at 195.

 3        As detailed above, over the course of approximately six weeks

 4   between June 2019 and August 2019, defendant withdrew cash and/or

 5   purchased and subsequently cashed cashier’s checks in amounts just

 6   below the $10,000 reporting requirement on ten separate occasions.

 7   (Supra § III.B.5; Karlous Decl. Ex. 42.)        Moreover, on June 17, June

 8   24, and July 22, 2019, defendant structured his transactions to

 9   withdraw cash and purchase another “smaller” cashier’s check, just

10   under $10,000, which defendant subsequently cashed to avoid the

11   currency reporting requirement.      (Karlous Decl. Ex. 42.)      Had

12   defendant withdrawn all the cash simultaneously, the bank would have

13   reported the financial transaction.        At no point during this time

14   period, did defendant withdraw more than $10,000.         (Id.)

15        C.     There is Probable Cause to Believe Defendant Committed
                 State Crimes While on Pretrial Release
16
                 1.   Defendant’s Violation of California Law
17
          There is also probable cause to believe that defendant’s conduct
18
     constituted multiple violations of California law, including
19
     fraudulently removing, concealing, or disposing of personal property
20
     sought to be recovered, in violation of California Penal Code
21
     § 155(a) and money laundering, in violation of California Penal Code
22
     § 186.10.
23
          California Penal Code § 155(a) states:
24
          Every person against whom an action is pending, or against
25        whom a judgment has been rendered for the recovery of any
          personal property, who fraudulently conceals, sells, or
26        disposes of that property, with intent to hinder, delay, or
          defraud the person bringing the action or recovering the
27        judgment, or with such intent removes that property beyond
          the limits of the county in which it may be at the time of
28        the commencement of the action or the rendering of the

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 1         judgment, is punishable by imprisonment in a county jail
           not exceeding one year, or by fine not exceeding one
 2         thousand dollars ($1,000), or by both that fine and
           imprisonment.
 3
     Cal. Penal Code § 155(a).      Each violation of § 155(a) would be
 4
     considered a misdemeanor.      Id.
 5
           California Penal Code § 186.10(a)(1) states:
 6
           (a) Any person who conducts or attempts to conduct a
 7         transaction or more than one transaction within a seven-day
           period involving a monetary instrument or instruments of a
 8         total value exceeding five thousand dollars ($5,000), or a
           total value exceeding twenty-five thousand dollars
 9         ($25,000) within a 30-day period, through one or more
           financial institutions (1) with the specific intent to
10         promote, manage, establish, carry on, or facilitate the
           promotion, management, establishment, or carrying on of any
11         criminal activity . . . is guilty of the crime of money
           laundering.
12
     Cal. Penal Code § 186.10(a)(1).       Each violation of § 186.10 could be
13
     charged as either a felony or misdemeanor. Id.
14
           As set forth above, defendant was well aware of the pending
15
     judgments against him, as well as his creditors’ efforts to enforce
16
     those debts.       (See supra § III.A.)     Yet, defendant repeatedly
17
     attempted to conceal his assets to prevent them from enforcing those
18
     judgments and recovering the funds to which they were legally
19
     entitled, and conducted financial transactions for the specific
20
     purpose of carrying out such criminal activity.          (See supra
21
     §   III.B.)
22
                   2.    Defendant’s Violation of Washington State Law
23
           Defendant’s conduct also constituted a misdemeanor violation of
24
     the Revised Code of Washington § 9.45.080.         Section 9.45.080 states:
25
           Every person who, with intent to defraud a prior or
26         subsequent purchaser thereof, or prevent any of his or her
           property being made liable for the payment of any of his or
27         her debts, or levied upon by an execution or warrant of
           attachment, shall remove any of his or her property, or
28         secrete, assign, convey, or otherwise dispose of the same,

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 1           or with intent to defraud a creditor shall remove, secrete,
             assign, convey, or otherwise dispose of any of his or her
 2           books or accounts, vouchers or writings in any way relating
             to his or her business affairs, or destroy, obliterate,
 3           alter, or erase any of such books of account, accounts,
             vouchers, or writing or any entry, memorandum, or minute
 4           therein contained, shall be guilty of a gross misdemeanor.

 5   RWC § 9.45.080.

 6           Defendant would necessarily have been aware of the outstanding

 7   Washington Department of Revenue tax warrant by no later than June

 8   14, 2019, when the Washington Department of Revenue levied

 9   defendant’s Chase bank account and seized approximately $32,072 from

10   defendant’s account.    (Karlous Decl. Exs. 36, 39.)       After the

11   Washington Department of Revenue levied defendant’s Chase bank

12   account, defendant only used the Chase bank account for smaller

13   transactions and never maintained a balance greater than $2,000.

14   (Id.)    As noted above, defendant also immediately withdrew almost all

15   of the funds from his U.S. Bank account after the levy was issued to

16   his Chase bank account and defendant started his cashier’s check

17   flipping scheme. (See supra § III.B.5.)

18           The Washington Department of Revenue also levied defendant’s

19   U.S. Bank on August 26, 2019 (Karlous Decl. Ex. 37), resulting in

20   $280.44 being withdrawn from his account on September 6, 2019

21   (Karlous Decl. Ex 42).     After September 10, 2019, however, defendant

22   largely stopped using the U.S. Bank account.        (Karlous Decl. Ex. 42.)

23           D.   There Are No Conditions or Combination of Conditions that
                  Will Ensure the Safety of the Community
24
                  1.   There is a Rebuttable Presumption that Defendant Poses
25                     a Danger to the Community

26           Where there is probable cause to believe that a defendant has

27   committed a felony while on release, Section 3148(b) creates a

28   rebuttable presumption that the defendant poses a danger to the

                                           42
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 1   community.    In United States v. Cook, 880 F.2d 1158, 1160 (10th Cir.

 2   1989), the Tenth Circuit held that the district court erred in

 3   refusing to revoke a defendant’s bond because the district court

 4   failed to take into account the rebuttable presumption established by

 5   § 3148(b).    In analyzing the rebuttable presumption, the court

 6   emphasized that:

 7        [T]he establishment of probable cause to believe that the
          defendant has committed a serious crime while on release
 8        constitutes compelling evidence that the defendant poses a
          danger to the community, and, once such probable cause is
 9        established, it is appropriate that the burden rest on the
          defendant to come forward with evidence indicating that
10        this conclusion is not warranted in his case.

11   Cook, 880 F.2d at 1161 (emphasis omitted).        Even if the defendant

12   does come forward with evidence to rebut the presumption, “the

13   presumption does not disappear, but rather remains as a factor for

14   consideration in the ultimate release or detention determination.”

15   Id. at 1162.

16        As discussed above, there is probable cause to believe that

17   defendant, while on pretrial release, committed federal felonies,

18   specifically, mail fraud, wire fraud, and structuring, as well as

19   committing multiple state misdemeanor offenses.         Thus, there is a

20   presumption in this case that defendant poses a danger to the

21   community.    Defendant cannot rebut the presumption that defendant

22   poses a danger to the community because, as discussed further below,

23   there is ample evidence that he is an ongoing threat to the

24   community.

25                2.   Defendant Is a Danger the Community

26        Separate and apart from the rebuttable presumption discussed

27   above, Section 3148(b) requires detention where the Court, after

28   considering the factors enumerated in Section 3142(g), finds that

                                           43
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 1   “there is no condition or combination of conditions of release that

 2   will assure that the [defendant] will not flee or pose a danger to

 3   the safety of any other person or the community.”         18 U.S.C. §

 4   3148(b)(2)(A).26

 5        Section 3142(g) lists a variety of factors to be considered in

 6   determining whether detention is appropriate.        These factors include

 7   the nature of the charges and the weight of the evidence against the

 8   defendant; the defendant’s character, community ties, employment,

 9   past conduct and criminal history; and the danger to the community

10   that would be created by releasing the defendant on bail.           See 18

11   U.S.C. § 3142(g).    Of these factors, the weight of the evidence is

12   the least significant, and the nature of the offense and evidence of

13   guilt are relevant only in so far as they bear on the likelihood that

14   the defendant will fail to appear or may pose a threat to the

15   community.   See United States v. Cardenas, 784 F.2d 937, 939 (9th

16   Cir. 1986); United States v. Motamedi, 767 F.2d 1403, 1408 (9th Cir.

17   1985).

18        Additionally, for purposes of the Bail Reform Act, the term

19   “danger to the community” is construed broadly.         “[T]he concern about

20   safety is to be given a broader construction than the mere danger of

21
          26 Although the government’s primary concern is that defendant
22   is a danger to the community, the government also believes that
23   defendant presents a risk of flight due to the seriousness of the
     charges defendant is facing. See, e.g., United States v. Townsend,
24   897 F.2d 989, 995 (9th Cir. 1990) (noting that the district court may
     consider possible punishment as an incentive for defendant to flee in
25   assessing a defendant’s risk of flight). For example, if convicted
     at trial, defendant would likely face an advisory sentencing
26   guideline range of at least 168 to 210 months’ imprisonment, plus a
27   two-year mandatory consecutive sentence for the violation of 18
     U.S.C. § 1028A. The government, however, recognizes that there are
28   likely conditions of release, at this time, which could mitigate the
     risk of flight in this case.
                                       44
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 1   physical violence.    Safety to the community ‘refers to the danger

 2   that the defendant might engage in criminal activity to the detriment

 3   of the community.’”    Cook, 880 F.2d at 1161 (quoting Comprehensive

 4   Crime Control Act of 1984, S. Rep. No. 98-225; 1984 U.S.C.C.A.N.

 5   3195).   Furthermore, for purposes of the Act, “danger may, at least

 6   in some cases, encompass pecuniary or economic harm.”          United States

 7   v. Reynolds, 956 F.2d 192 (9th Cir. 1992); see also United States v.

 8   Possino, No. CR 13-0048-SVW-3 (JEM), 2013 WL 1415108 (C.D. Cal. Apr.

 9   8, 2013) (detaining defendant based on “economic danger to the

10   community”); United States v. Cohen, No. C 10–00547 SI, 2010 WL

11   5387757 (N.D. Cal. Dec. 10, 2010) (affirming pretrial detention order

12   based on economic harm where “fraudulent activity is ongoing or

13   defendant has a propensity to continue fraudulent activity”).

14        Here, the pertinent 3142(g) factors, including the nature and

15   circumstances of the offense charged, the weight of the evidence

16   against defendant, and defendant’s history and characteristics, all

17   support detention.    Most notably, there is extensive evidence that

18   defendant would pose a serious and continuing economic danger to the

19   community if allowed to remain on bond pending trial.          18 U.S.C.

20   § 3142(g)(4).

21        As detailed in the indictment and in the affidavits attached to

22   Agent Karlous’s declaration (Exs. 1-3), defendant has engaged in an

23   extensive pattern of criminal conduct since as early as 2011.            In

24   this case, defendant is charged in this case with embezzling at least

25   $9 million from his legal clients; failing to pay to the IRS at least

26   $3.2 million that had been withheld from GBUS employee’ paychecks;

27   obstructing the IRS’s efforts to collect the payroll taxes GBUS owed

28   to the IRS; failing to file federal tax returns for himself and his

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 1   companies; committing bank fraud and aggravated identity theft in

 2   order to obtain millions of dollars of loans; and making false and

 3   fraudulent statements in the 2017 EA Bankruptcy.27         Defendant has also

 4   been indicted in the Southern District of New York for attempting to

 5   use information he obtained during his representation of a legal

 6   client to extort Nike out of approximately $20 million, see United

 7   States v. Avenatti, No. 1:19-CR-373, and stealing approximately

 8   $148,750 from another former legal client, see United States v.

 9   Avenatti, No. 1:19-CR-374-DAB.

10        The similarities between defendant’s prior criminal conduct and

11   his ongoing criminal conduct while on pretrial release is also deeply

12   troubling.   As detailed herein, there is overwhelming evidence that

13   defendant had attempted to defraud his creditors in the 2017 EA

14   Bankruptcy and conceal funds and obstruct the IRS’s collection

15   efforts prior to his indictment.      This is precisely the same type of

16   conduct defendant has engaged in while on pretrial release.              The fact

17   that he has continued to engage in such efforts while on pretrial

18   release proves that defendant remains a substantial economic danger

19   to the community.

20        Moreover, the fact that defendant continues to go to great

21   lengths to conceal his assets suggests that defendant may be engaged

22   in further fraudulent conduct.      The Court imposed a condition of

23   release requiring defendant to give notice of financial transactions

24   over $5,000, however, this condition did not prevent defendant from

25   continuing to engage in the criminal conduct described herein.             To

26

27
          27 Notably, the indictment alleges that defendant had been
28   engaged in criminal conduct as recently as March 24, 2019 – the day
     before defendant was arrested. (Indictment ¶ 7(c).)
                                       46
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 1   the best of the government’s knowledge, defendant continues to reside

 2   in a luxury condominium in Los Angeles that costs approximately

 3   $11,000 per month, is still employing a personal driver and being

 4   transported in a $50,000 Mercedes-Benz defendant purchased in his ex-

 5   wife’s name, and staying at luxury hotels when he travels.           Although

 6   defendant received $1 million dollars from a settlement shortly after

 7   defendant was indicted in the present case, the bank records show

 8   defendant spending and using almost the full $1 million within a few

 9   months on himself, and not to pay any portion of the substantial

10   judgments ordered against defendant.

11        In addition, the records of the $1 million dollar judgment

12   itself further evidence defendant’s scheme, and mirror allegations in

13   the indictment.   Although defendant initially advised opposing

14   counsel in March 2019, prior to any charges in this case, that

15   Avenatti & Associates represented E.S., defendant signed the

16   settlement agreement in April 2019 and instructed the payment be made

17   to defendant individually.     (Karlous Decl. Ex. 37.)      Defendant’s

18   failure to pay over this amount was in violation of several judgments

19   against defendant, but was specifically in violation of various

20   Superior Court Orders from defendant’s divorce case with Storie

21   prohibiting defendant from transferring, concealing, or disposing in

22   any way of assets subject to prior orders.        (See supra § III.A.3.)

23        In sum, defendant’s extensive pattern of criminal conduct and

24   the overwhelming evidence supporting those charges demonstrate that

25   defendant is a substantial danger to the community.         If allowed to

26   remain on bond, defendant will almost certainly continue to engage in

27   further fraudulent and obstructive conduct.

28

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 1             3.    Defendant Is Unlikely to Comply with the Conditions of
                     His Release
 2
          There is also ample evidence to suggest that defendant is
 3
     unlikely to comply with the conditions of his release.          Crucially,
 4
     the ongoing criminal conduct set forth herein occurred despite the
 5
     fact that he was required to report such financial transactions to
 6
     his pretrial services officer.      The conduct also demonstrates a
 7
     complete lack of respect for the law.       Indeed, as detailed in Section
 8
     III.A.1 above, defendant has a long history of refusing to comply
 9
     with and/or violating court orders.
10
          E.   Issuance of an Arrest Warrant for Defendant Is Appropriate
11
          Title 18, United States Code, Section 3148 provides that:
12
          A judicial officer may issue a warrant for the arrest of a
13        person charged with violating a condition of release, and
          the person shall be brought before a judicial officer in
14        the district in which such person’s arrest was ordered for
          a proceeding in accordance with this section.
15

16   18 U.S.C. § 3148(b).    Issuance of an arrest warrant is appropriate

17   and necessary for three reasons.

18        First, as set forth above, defendant has violated the terms of

19   his pretrial release by attempting to defraud his creditors and

20   conceal his assets in violation of federal and state law.           Defendant

21   has engaged in this ongoing criminal conduct while on pretrial

22   release, with the apparent assistance of his surety, and despite

23   being required to report all financial transactions over $5,000 to

24   his pretrial services officer.      An arrest warrant is therefore

25   entirely appropriate.

26        Additionally, if defendant is not immediately arrested there is

27   a substantial likelihood that defendant will continue his efforts to

28   defraud his creditors, conceal his assets, and fraudulently transfer

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 1   property to others.    If defendant is alerted to the instant motion

 2   prior to being brought before this Court, there will be nothing to

 3   stop defendant from immediately hiding any remaining assets or making

 4   arrangements for others to do so.      Such actions could prevent his

 5   creditors from ever recovering the funds to which they are legally

 6   entitled, or significantly hinder the government’s ability to

 7   complete its ongoing investigation regarding defendant’s fraudulent

 8   conduct.

 9        Indeed, defendant has a lengthy history of attempting to conceal

10   his criminal conduct when he is alerted to allegations of wrongdoing.

11   For example, on March 22, 2019, defendant testified under oath during

12   a judgment debtor examination in the Federal JFL Case.          (Indictment

13   ¶ 7(k); Karlous Decl. Ex. 3, § IV.D.1)       During his testimony,

14   defendant was specifically asked whether he embezzled Client 1’s

15   $4,000,000 settlement payment from 2015 and denied doing so.

16   (Indictment ¶ 7(k); Karlous Decl. Ex. 3, § IV.D.1.)         After the

17   judgment-debtor examination ended, defendant drove to Client 1’s

18   residence and told Client 1 that Client 1 would finally begin

19   receiving the settlement payments from the County of Los Angeles.

20   (Indictment ¶ 7(k); Karlous Decl. Ex. 3, § IV.D.1.)         In order to

21   attempt to establish a defense against any claims Client 1 could

22   bring against defendant, defendant then returned to Client 1’s

23   residence on March 23 and March 24, 2019, to have Client 1 sign a

24   document defendant claimed was necessary for Client 1 to receive the

25   settlement proceeds, and another document stating that Client 1 was

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 1   satisfied with defendant’s representation.         (Indictment ¶ 7(k);

 2   Karlous Decl. Ex. 3, § IV.D.1.)28

 3        Finally, the government notes that defendant’s trial in the Nike

 4   extortion case in the Southern District of New York is scheduled to

 5   commence on January 21, 2020.29      The government believes it is

 6   important that this issue be resolved immediately, before defendant

 7   leaves this district, and in a manner that does not negatively impact

 8   defendant’s trial date in the Southern District of New York.

 9        Accordingly, the government requests that the Court issue a

10   warrant for defendant’s arrest so that defendant can be immediately

11   brought before the Court for a hearing on the instant motion.

12   Alternatively, the government requests that the Court issue an order

13   to show cause as to why defendant’s bond should not be revoked, and

14   schedule a hearing on the government’s motion as soon as possible.

15   V.   CONCLUSION
16        For the foregoing reasons, the government respectfully requests

17   that this Court either: (1) issue a warrant for defendant’s arrest,

18   schedule an immediate bond revocation hearing, revoke his pretrial

19   release order, and order him detained pending further proceedings in

20   this matter; or (2) issue an order to show cause as to why

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23        28 Similarly, on March 25, 2019, immediately after defendant
     learned that law enforcement had approached the client identified in
24   the Nike extortion case and shortly before defendant’s arrest,
     defendant posted derogatory information regarding Nike on Twitter.
25   Superseding Indictment, United States v. Avenatti, No. 1:19-cr-373-
     PGG, Dkt. No. 72 at ¶ 18 (S.D.N.Y. Nov. 13, 2019).
26
          29 On January 12, 2020, defendant’s counsel in the Nike extortion
27   case filed a request for exclusion of evidence or in the alternative,
     a thirty-day continuance of the trial due to defendant’s claim that
28   the government failed to turn over certain discovery in a timely
     manner. Defendant’s request is pending.
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 1   defendant’s bond should not be revoked and schedule a bond revocation

 2   hearing as soon as possible.

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